Case 2:09-cv-04414-SDW-LDW Document 1049 Filed 09/17/19 Page 1 of 1 PageID: 16609




   STEPHANIE N. RUSSO                                                        Faegre Baker Daniels LLP
   Associate                                                                 300 North Meridian Street, Suite 2700
   stephanie.russo@FaegreBD.com                                              Indianapolis, Indiana 46204-1750
   Direct +1 317 237 1277                                                    Main +1 317 237 0300
                                                                             Fax +1 317 237 1000




                                           September 17, 2019

   VIA ECF AND E-MAIL TO DEVON CORNEAL@NJD.USCOURTS.GOV

   The Honorable Susan D. Wigenton
   United States District Judge
   U.S. District Court for the District of New Jersey
   Martin Luther King, Jr. Federal Building & U.S. Courthouse
   50 Walnut Street
   Newark, NJ 07102

             Re:       In re: Zimmer Durom Cup Products Liability Litigation
                       Master Docket, 2:09-cv-04414-SDW-SCM (“Master Docket”)

   Dear Judge Wigenton:

   Enclosed are two exhibits listing the pending 26 cases with the 15 settled but not dismissed cases
   highlighted in gray, and a list of the unsettled, remaining 11 cases to be addressed at the next
   status conference. If the Court requires additional information prior to the status conference,
   please do not hesitate to contact me.


                                                Very truly yours,

                                                /s/ Stephanie N. Russo

                                                Stephanie N. Russo




   US.124698052.01
